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Exhibit A:

Excerpts from the
Deposition Transcript of
Francisco Colon

Date: November 16, 2015

Pages: 20, 28, 43-44, 56-57

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111 The Matter Of:
Mancini vs

Cily ofProvidence

 

Major ancisco Colon
November ]6, 2015

 

 

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Major Francisco Colon - November 16, 2015

 

 

I think is what you said.

Right.

A. No. I did have an opinion.

What was your opinion of him?

A. My opinion was that he was a negative police
officer.

Okay. So prior to that meeting in June of 2012,
you thought Sergeant Mancini was a negative
police officer?

A. Yes.

Can you point to any evidence to support that?
A. It was based ~- okay. So just prior to the
exam, I had had conversations with Sergeant
Grenada who indicated to me that the Sergeant was
less than responsive in terms of providing
Sergeant Grenada with certain documentation that
the Sergeant was looking for. So I had had a
conversation or maybe several conversations with
Sergeant Grenada, and that's what I recall. And
this was just prior to the exam. Again, Sergeant
Granada indicated to me that the Sergeant was
less than responsive in providing documents that
he needed.

What documents?

A. Medical documents, I believe, is what they

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Major Francisco Colon - November 16, 2015

 

 

what do you mean he was negative?

A. I think he complained about the job often.
Okay. You think he complained about the job
often. Did you hear he complained about the job
often? From whom?

A. I don't know specifically.

Did you hear any other supervisor make any
negative comments about any other police officers

other than Mark Mancini?

A. Yes.
Give me an example. Who?
A. I don't recall specific names.

What about Pao Yang, did you ever hear anybody
make any negative comments about him?

A. YeS.

Who did you hear make negative comments about Pao
Yang?

A. I don't recall who. Had I taken notes as to
who said what or minutes of meetings I would be
able to tell you, but, unfortunately, we didn't
do that. But, yeah, have I heard officers speak
negatively about Pao Yang? Sure.

Do you recall who Sergeant Mancini's direct
supervisor was in June of 2012?

A. I do not.

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Major Francisco Colon ~ November 16, 2015

 

 

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A. Not that I'm aware of.

Did you ever hear of any problems that Sergeant
Mancini had when he was over in Homeland
Security?

A. Not that I'm aware of.

Do you remember what you recommended for service
points for Sergeant Mancini?

A. Yes.

What?

A. A zero.

Why did you recommend he get a zero?

A. I think I've already answered that in the
beginning of this.

You did?

A. Yeah.

Okay. Can you answer it again? I must have
missed it.

A. Sure. I said that I formulated my opinion to
recommend a zero based on conversations and
information that was provided to me by officers
who supervised him, including officers who were
making recommendations about what points they
were going to recommend for Sergeant Mancini, in
addition to the information I had from Sergeant

Grenada about his less than responsiveness to

 

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Major Francisco Colon - November 16, 2015

 

 

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providing documents.

Is one of the reasons that you recommended
Mancini get a zero for service points because he
wasn't providing documentation to Sergeant
Grenada regarding his injury?

A. I just told you, it was one of the things
that I considered.

So it factored into your decision to recommend a
zero?

A. That he's not being cooperative and he's a
supervisor, he's a Sergeant, and I'm hearing
complaints from Sergeant Grenada that he's less
than responsive, absolutely. That's not the
behavior you expect from a supervising officer.
Did you ever talk to Sergeant Mancini as to
whether or not Sergeant Grenada's allegations

were accurate?

A. No.
Why not?
A. I didn't -- I relied on Sergeant Grenada and

relied on the fact that I believe he was being
forthright and forthcoming in telling the truth.
If you know Sergeant Grenada, there's no one ~-
he's an honest man, God-fearing man§ Sergeant

Grenada is not going to make something like that

 

 

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Major Francisco Colon - November 16, 2015

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Verdi's, for example, he obviously -- it looks
like he used the same sheet and crossed off,
right, and changed --

So -- I'm sorry. Are you done testifying?

A. Yes.

So it sounds like you utilized two score sheets;
right? One that was blank that you wrote on that
you say you discarded and the one that's in

Exhibit 2?

A. Sure.
Yes?
A. Yes.

So who typed in the fives on page five?

A. That would have been Sergeant Grenada.

So who told him to type in the fives?

A. I probably gave him the list of the
recommendations that were decided upon and likely
told him, We're waiting for a decision on the
other ones, so it would have been me.

You testified that you couldn't remember any
negative comments that were made about Sergeant
Mancini at this meeting. Were there any negative
comments about any other promotional candidates
made at that meeting?

A. My testimony is that I can't remember with

 

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Major Francisco Colon - November 16, 2015

 

 

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any degree of specificity as to what negative
comments were made by whom. Were there -- and
you keep calling them negative comments. Maybe
they are negative comments, but, yes, there was
some conversation that was negative, not only
about Sergeant Mancini but about other candidates
at that meeting, yes.

And I just want to make sure I understand your
testimony. The reasons that you recommended
Mancini get a zero was becausel A, you heard
negative things about him before this meeting
from supervising officers?

A. And during. And during the meeting.

And during the meeting --

A. We went around the table, and officers with
what I believe to be direct knowledge provided
some information about Officer Mancini and other
officers, and clearly the officers that got the
lowest points, so I considered the opinions of
those supervising officers who had direct
knowledge, plus the information I shared with you
that was given to me by Sergeant Grenada.

And the other reason is because Sergeant Grenada
told you that Mancini was not providing

documentation on his injury pursuant to Grenada's

 

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C E R T I F I C A T E

I, DENISE A. WEBB, a Notary Public in and for
the State of Rhode Island, duly commissioned and
qualified to administer oaths, do hereby certify that
the foregoing Deposition of MAJOR FRANCISCO COLON, a
WITNESS in the above-entitled cause, was taken before
me on behalf of the PLAINTIFF at The Law Offices of
Mark P. Gagliardi, 120 Wayland Avenue, Suite 7,
Providence, Rhode Island on November 16, 2015 at 4:00
p.m.; that previous to examination of said WITNESS who
was of lawful age, he was first sworn by me and duly
cautioned to testify to the truth, the whole truth,
and nothing but the truth, and that he thereupon
testified in the foregoing manner as set out in the
aforesaid transcript.

I further certify that the foregoing Deposition
was taken down by me in machine shorthand and
transcribed by computer, and that the foregoing
Deposition is a true and accurate record of the
testimony of said WITNESS.

Pursuant to Rules 5(d) and 30(f) of the Federal
Rules of Civil Procedure, original transcripts shall
not be filed in Court; therefore, the original is
delivered to and retained by Plaintiff's Attorney,
Mark P. Gagliardi.

I have enclosed with the Deposition a
correction and signature pagel which must be signed
before a Notary Public.

IN WITNESS WHEREOF, I have hereunto set my hand
and seal this 2nd day of December, 2015.

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AMWW%§U§UL#

 

 

DENISE A. WEBB, CSR/RPR/NOTARY PUBLIC
MY COMMISSION EXPIRES APRIL 7, 2018

 

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